                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

PAUL GERLICH and ERIN FURLEIGH,
      Plaintiffs,
                                                              No. 4:14-cv-00264-JEG
vs.
STEVEN LEATH, WARREN MADDEN,                                         ORDER
THOMAS HILL and LEESHA ZIMMERMAN,

      Defendants.

      This matter now comes before the Court pursuant to the prior case management Order,

ECF No. 87, and Plaintiffs’ Motion for Attorney Fees and Costs, ECF No. 88. Defendants have

filed Objections to Plaintiffs’ Motion for Attorney Fees and Costs. ECF No. 90. Following

those objections, the parties have conferred on the issue and have filed a Joint Stipulation on

Attorney Fees and Costs and Joint Requests for Approval and Entry of Judgment. ECF No. 93.

The parties have agreed to submit the matter without oral argument, and the Court finds no need

for a hearing.

                                      APPLICABLE LAW

      Plaintiffs seek an award of attorney fees and costs as prevailing parties pursuant to 42

U.S.C. § 1988, Fed. R. Civ. P. 54 and Local Rule 54.1. There is no remaining dispute that the

Plaintiffs are prevailing parties in this action. See Joint Status Report 3, ECF No. 86; Order on

Joint Status Report 2, ECF No 87. Thus, the Court is left with the task of determining what is a

reasonable fee for purposes of § 1988.

      A reasonable fee involves an analysis of the number of fair and reasonable hours billed

against a reasonable billable hour rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). This

“lodestar” calculation is regarded as reasonable compensation. Perdue v. Kenny A. ex rel. Winn,

559 U.S. 542, 546 (2010). There is no dispute in regard to the number of hours billed on behalf

of the Plaintiffs. Rather, the remaining dispute focused on some of the billed hourly rates.
      A reasonable market rate is “usually the ordinary rate for similar work in the community

where the case has been litigated.” Emery v. Hunt, 272 F.3d 1042, 1048 (8th Cir. 2001); see also

H.J. Inc. v. Flygt Corp., 925 F.2d 257, 260 (8th Cir. 1991); Jorstad v. IDS Realty, 643 F.2d

1305, 1313 (8th Cir. 1981). The Court is thus tasked with determining the relevant legal market.

Blum v. Stenson, 465 U.S. 886, 895-96 n.11 (1984). Plaintiffs argued the relevant market is

Washington, D.C., where most of the Plaintiffs’ attorneys practice. The Defendants argued the

relevant market is Des Moines, Iowa, where the matter has been litigated.1 “In a case where the

plaintiff does not use local counsel, the district court is not limited to the local hourly rate, if the

plaintiff has shown that, in spite of his diligent, good faith efforts, he was unable to find local

counsel able and willing to take the case.” Snider v. City of Cape Girardeau, 752 F.3d 1149,

1159-60 (8th Cir. 2014), citing Emery, 272 F.3d at 1048. Upon a determination of the relevant

market, the burden is typically on the party seeking compensation to satisfactorily demonstrate a

prevailing rate for similar services in that market. Blum v. Stenson, supra. Informed by that

general legal structure, and employing the Court’s broad discretion, see Hanig v. Lee, 415 F.3d

822, 825 (8th Cir. 2005), the Court has examined the application for fees and costs in light of the

Stipulation of the parties.

                                            DISCUSSION

      The Court commences the analysis recognizing what was not in dispute.2 There is no

challenge to the necessity or reasonableness of the hours expended by any of the Plaintiffs’

counsel or legal assistant in litigating this complex matter. There is no dispute regarding the

hourly rate being claimed by attorneys Giudicessi or Zycherman. Nor is there any dispute


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          The matter was also litigated at the United States Court of Appeals for the Eighth
Circuit, for which fees of $240,070.50 and costs of $3,042.00 were sought and the total amount
of $177,467.68 was awarded by that court. Pls.’ Mot. Br. 6-7, ECF No. 88-1.
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        Plaintiffs had sought fees in the total amount of $624,294.10, and in resistance the
Defendants suggested the Court could award up to $516,173.00.

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regarding the claimed costs. Finally, the fees and costs incurred in connection with litigating the

pending fee application were a matter of stipulation.

     Having argued the relevant legal market is Des Moines, the Defendants challenged the fee

claims for lead counsel Robert Corn-Revere and attorney Ronald London, both of Washington,

D.C. Rather, the Defendants asserted the hourly rate claimed by Des Moines attorney Michael

Giudicessi is an appropriate market rate which should be the highest rate allowed by the Court.

     In support of the claimed fees, counsel have provided the Court with affidavits regarding

their qualifications, the hourly rates they normally charge clients, and the reduced rates they are

seeking in this matter. The record does not contain additional evidence regarding prevailing fees

for like work in either market at issue. Based on the Court’s experience, the rate of $475 per

billable hour utilized by Mr. Giudicessi is on the high end, but not excessive, for an attorney of

his experience, skill, and expertise for this particular area of practice in the Des Moines market.

     The professional stature and reputation of Mr. Corn-Revere and Mr. Giudicessi are both

apparent to the Court and unchallenged by the Defendants. Indeed, it is Mr. Giudicessi’s skill

and experience that Defendants utilized in arguing Plaintiffs cannot make the necessary showing

that they could not obtain local counsel with the ability and the willingness to take on the case.

Quite the contrary, Mr. Giudicessi is extremely able and qualified in the area, and took the case,

albeit as local counsel.

     While Mr. Giudicessi’s credentials in the area of First Amendment litigation are beyond

dispute, his substantial experience has been gained largely in representation of news organiza-

tions and media companies. The list of clients and representative cases clearly supports that

conclusion. Lead counsel, Mr. Corn-Revere, has similar generic credentials in the First Amend-

ment area, but with a material distinction. He has been involved in a number of cases across the

country representing First Amendment rights of students in the academic setting, and has written

extensively on First Amendment issues. Thus, while both counsel were qualified to provide the


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necessary representation in the case at bar, Mr. Corn-Revere came to the case with substantially

extended experience specifically applicable to the case. His expertise and command of the legal

principles in the area were apparent to the Court in argument, and it is reasonable to conclude

made a material contribution to the result. The Court cannot on this record reach a similar

distinction between Mr. Giudicessi and Mr. London. At bottom, the Court concludes under

these circumstances the relevant legal market is Des Moines. However, even with that essential

conclusion, the Court also concludes Mr. Corn-Revere would command a higher rate in that

market, albeit somewhat lower than the amount in the claim.

     Defendants also challenged the rate being charged for the legal assistant located in

Washington, D.C. They argue the rate of $302 per billable hour is excessive in comparison to

the rates charged for like work in this jurisdiction. On the available record, the Court does not

have a basis for concluding this rate is reasonable for the type of work being performed. Again

in the absence of record evidence from the Plaintiffs that further supports the legal assistant fees,

the Court relies on its experience in determining a reasonable rate for a case of this nature and

complexity. In so doing, the Court recognizes the value performed by a legal assistant and the

fact that such work limits the expenditure of lawyer time at a higher hourly rate.

     Based on the foregoing analysis, the Court concludes the stipulated request for attorney

fees in the amount of $570,233.55 is within the range of fair and reasonable fees for the services

provided in this matter. Further, the Court concludes the stipulated request for costs in the

amount of $27,974.62 is also fair and reasonable in the context of this litigation.

     Accordingly, the Court hereby confirms and preserves its prior Orders and Judgments,

including the January 22, 2016 injunction, ECF No. 60, made permanent on February 1, 2018,

ECF No. 87.3 The Clerk of Court is directed to enter Judgment in favor of the Plaintiffs and


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          Pursuant to stipulation, this subsequent Order extended the injunction to include
current Iowa State University President Wendy Wintersteen, and all Defendants’ successors.

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against the Defendants for fees and costs to the prevailing parties in the total amount of

$598,208.17, which is to be made payable in a single check to the firm of Davis Wright

Tremaine LLP.

     IT IS SO ORDERED.

     Dated this 21st day of March, 2018.




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